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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY

M&B IP ANALYSTS, LLC,          :
                               :
                   Plaintiff,  :
                               :
      v.                                     C.A. No. 2:19-cv-00429
                               :
CORTICA-US, INC., and CORTICA, :
LTD.,                          :
                               :
                   Defendants. :
                               :
                               :


    ____________________________________________________________

                        MEMORANDUM OF LAW
                  IN SUPPORT OF MOTION TO DISMISS

 __________________________________________________________________




                                               On the brief:
                                               Adam E. Gersh, Esquire

Dated: June 3, 2019
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                        PRELIMINARY STATEMENT
       The complaint of Plaintiff M&B IP Analysts, LLC (“M&B” or “Plaintiff”)

against Defendant Cortica, LTD does not belong before this Court, primarily,

because Cortica, LTD, an Israel-based business, had no direct business dealings

with M&B, either in this forum or in any other United States forum. As set forth

more fully herein, this means this case should be dismissed because (i) the Court

has no personal jurisdiction over Cortica, LTD; (ii) the doctrine of forum non

conveniens precludes proceeding in this form, and (iii) M&B’s failure to join an

indispensable party who did have the direct dealings with M&B that are at issue is

fatal to its claim.

       By way of background, M&B’s complaint incompletely frames this as a

simple collection claim, obscuring the tangential nature of its indirect relationship

with Cortica and the complex relationship and obligations that are currently the

subject of litigation in Israel, in which M&B was added as a defendant in Cortica,

LTD's complaint. As set forth at length herein, M&B was engaged by an Israeli

company, non-party eNitiatives IP Ltd. (“eNitiatives”), and not by Cortica, LTD.

While Cortica, LTD had a business relationship with eNitiatives, a fellow Israel-

based company, which is currently the subject of the litigation in Israel, it did not

have any direct relationship with M&B and is not otherwise subject to jurisdiction

before this Court. Rather, M&B’s complaint unfairly attempts to collect against


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Cortica, LTD in this District even though Cortica, LTD and M&B did not form a

relationship here or, directly, anywhere. In other words, M&B is using this forum

as a shortcut to collect from Cortica, LTD rather than face the claims Cortica, LTD

is asserting against eNitiatives and M&B in Israel. For that purpose, M&B has also

artificially included Cortica, LTD's wholly-owned subsidiary, Cortica-US, Inc., a

U.S. company, in its complaint, only to create the mistaken impression that

Cortica, LTD should litigate before this Court.

      Under well-established precedent, there is no personal jurisdiction over

Cortica, LTD in this forum when M&B and Cortica, LTD had no direct

relationship, this is not Cortica, LTD’s home forum, and Cortica, LTD did not

otherwise avail itself of this forum. In this regard, M&B would not have bothered

to artificially include Cortica-US, Inc., which never received any type of services

from eNitiatives or M&B, if M&B truly believed that this forum is the right forum

with respect to Cortica, LTD. This action is only connected to Cortica, LTD

through its relationship with eNitiatives in Israel and that is not sufficient to confer

jurisdiction over Cortica, LTD based on eNitiatives relationship with M&B.

      Separately, and moreover, even if this Court had jurisdiction over Cortica,

LTD to hear this matter, M&B’s complaint against both Cortica, LTD and Cortica-

US, Inc. (“Cortica-US, Inc.” and, together with Cortica, LTD, “Cortica”) should

still be dismissed based on the doctrine of forum non conveniens so that it may be


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heard in Israel along with the ongoing litigation between Cortica, LTD and

eNitiatives which involve, among other things, disputes over billings by eNitiatives

and M&B for the services provided and which are inextricably intertwined with the

claims asserted in this action.

      Moreover, as a consequence of M&B’s filing this case in a forum without

jurisdiction and that is not convenient, its case should also be dismissed for failing

to name an indispensable party. As set forth more fully herein, even though M&B,

as the contractor of eNitiatives, was named as a party in Cortica, LTD’s Israel

complaint due to the negligent services provided to Cortica, LTD, M&B filed this

action in an attempt to bypass the Israeli litigation that concerns the very same

services and billing provided to Cortica, LTD pursuant to its agreement with

eNitiatives.    Any litigation concerning these transactions should include

eNitiatives, which was the one who engaged M&B. Therefore, M&B should not

be permitted to force Cortica, LTD (and eNitiatives) to litigate this matter in two

forums, especially when Cortica, LTD has no relevant contacts or relation with

M&B or the subject of tis complaint in this forum. For this reason, eNitiatives is

an indispensable party to this litigation, warranting dismissal thereof under Fed. R.

Civ. P. 12(b)(7).

      For these reasons, as set forth more fully below, M&B’s claims against

Cortica should be dismissed with prejudice.


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                             FACTUAL BACKGROUND
       As required by Fed R. Civ. P. 12, Cortica accepts as pled the facts set forth

in Plaintiff’s complaint for purposes of this motion only.1 Pursuant to Fed. R. Civ.

P. 12, these facts, although disputed, shall be accepted as pled for the purposes of

this motion only.

       Importantly, M&B acknowledges in its complaint that (i) it filed patents

with the United States Patent and Trademark Office (“USPTO”) and (ii) all patents

and patent applications are owned by Cortica LTD, and not its U.S. subsidiary

Cortica-US, Inc. See Complaint at ¶¶ 13-14, Docket Entry No. 1.

       Accordingly, M&B’s complaint acknowledges that any benefits M&B may

have conferred, via contract or quasi-contract, were conferred on Cortica, LTD and

not its domestic subsidiary, Cortica-US Inc.             These facts only reassert the

conclusion that Cortica-US, Inc. was inappropriately added to the Complaint.

       While M&B glosses over the fact that it was directly engaged by eNitiatives

and not by Cortica, LTD in its complaint, those facts are set forth in the attached

certification from one of Cortica’s founders, shareholders and its Chief Operations

Officer and Chief Intellectual Property Officer, Mrs. Karina Odinaev (hereinafter

“Odinaev Cert.”), including that:

                    Cortica, LTD is the owner of all patents (Odinaev Cert. at ¶ 7);

       1
           Cortica disputes and denies many of the allegations contained in the complaint and
specifically denies that they engaged in any of the wrongful conduct alleged.
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                   Cortica, LTD has no active business or agreements that apply

 U.S. law or otherwise agree to submit to jurisdiction in the U.S. (Odinaev Cert. at ¶

 3);

                   Cortica, LTD does not solicit, create, nurture or maintain any

 continuing business relationship with anyone in New Jersey(Odinaev Cert. at ¶ 4);

                   Cortica, LTD is an Israeli company with no connection to New

 Jersey and no connection relating to M&B with the United States (Odinaev Cert. at

 ¶ 5);

                   Cortica, LTD's wholly-owned subsidiary, Cortica-US, Inc.,

 solely provides services to Cortica, LTD, such that all investments and client

 services are provided through Cortica, LTD (Odinaev Cert. at ¶ 6);

                   Cortica, LTD, and obviously Cortica-US, Inc, have never

 engaged M&B directly (Odinaev Cert. at ¶ 8);

                   Cortica, LTD engaged eNitiatives (Odinaev Cert. at ¶ 9);

                   Since 2011 and until January 1, 2016, eNitiatives worked as a

 department in an Israeli law firm named Heskia Hakmon (“HH”) (Odinaev Cert. at

 ¶ 11);

                   HH originally used U.S. law firm Myers Wolin, LLC (“MW”)

 for work eNitiatives was engaged to perform for Cortica, LTD with much of the



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 work being done by Mr. Michael Ben-Shimon (who went on to be a founder of

 M&B according to M&B’s complaint) (Odinaev Cert. at ¶¶ 10, 13);

                   In or about June 2014, M&B sent a invoices directly to Cortica,

 LTD (Odinaev Cert. at ¶ 14);

                   Cortica, LTD had no knowledge of M&B and asked eNitiatives

 why M&B was sending invoices (Odinaev Cert. at ¶ 15);

                   In response, eNitiatives advised Cortica, LTD, “M&B IP

 Analysts is a new company that Michael established who replaces Myers Wolin”

 (Odinaev Cert. at ¶ 16);

                   Cortica, LTD was given no say in the contractors eNitiatives

 engaged (such as M&B), did not give its consent to the transition to M&B, did not

 directly engage in any contract with M&B, and did not agree to any contractual

 relationship with M&B or otherwise manage or supervise M&B’s work (Odinaev

 Cert. at ¶ 17);

                   All agreements with eNitiatives/HH exclusively authorize the

 courts of Tel Aviv to handle any dispute (Odinaev Cert. at ¶ 18);

                   Cortica, LTD and eNitiatives are actively litigating in the courts

 of Tel Aviv to resolve their dispute over the services provided under Israeli law,




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 including the services provided by M&B through eNitiatives; (Odinaev Cert. at ¶

 19 and Ex A thereto2); and

                      M&B is included as a defendant in the counter-complaint filed

 by Cortica, LTD in Tel Aviv (Odinaev Cert. at ¶ 20).

                                    ARGUMENT

I.    PLAINTIFF’S COMPLAINT SHOULD BE DISMISSED FOR LACK OF
      PERSONAL JURISDICTION

 A.     Standard of Review
        Federal courts may only exercise personal jurisdiction over non-resident

 defendants as authorized by the laws of the state where the court resides. Fed. R.

 Civ. P. 4(e); Sunbelt Corp. v. Noble, Denton & Assocs., Inc., 5 F.3d 28, 31 (3d Cir.

 1993); Provident Nat’l Bank v. California Fed. Sav. & Loan Ass’n, 819 F.2d 434,

 436 (3d Cir. 1987).

        New Jersey permits the exercise of jurisdiction to the fullest extent allowed

 under the Fourteenth Amendment of the United States Constitution. See N.J. Ct. R.

 4:4-4(b)(1) (permitting the exercise of jurisdiction “consistent with due process of

 law”); Charles Gendler & Co., Inc. v. Telecom Equip. Corp., 102 N.J. 460, 469

 (1986). Accordingly, the Court’s analysis must focus on whether the exercise of

 jurisdiction over Defendants comports with the requirements of the Due Process



        2
         The complaint includes over 300 pages of exhibits which were omitted from the
 Odinaev Certification, but are available to the Court upon request.
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 Clause. See Int’l Shoe Co. v. Washington Office of Unemployment Comp. &

 Placement, 326 U.S. 310, 326 (1945).

       “Due process requirements are satisfied when in personam jurisdiction is

 asserted over a nonresident corporate defendant that has ‘certain minimum contacts

 with [the forum] such that the maintenance of the suit does not offend traditional

 notions of fair play and substantial justice.’” Helicopteros Nacionales de

 Colombia, S.A. v. Hall, 466 U.S. 408, 414 (1984) (quoting International Shoe Co.,

 326 U.S. at 316). There are two general types of personal jurisdiction that reflect

 the requirements of the Due Process Clause of the Fourteenth Amendment-general

 jurisdiction and specific jurisdiction. Marten v. Godwin, 499 F.3d 290, 296 (3d

 Cir. 2007).

       General jurisdiction is proper over nonresident corporations when “their

 affiliations with the State are so ‘continuous and systematic’ as to render them

 essentially at home in the forum state.” Daimler AG v. Bauman, 571 U.S. 117, 126

 (2014).

       Specific jurisdiction, on the other hand, describes the authority to exercise

 jurisdiction over suits that “aris[e] out of or relate[ ] to the defendant's contacts

 with the forum.” Id. (quoting Helicopteros, 466 U.S. at 414). Specific jurisdiction

 requires that the defendant has “purposely directed [its] activities at the forum,”

 that plaintiff's claim “arise out of or relate to at least one of those specific


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 activities,” and that jurisdiction “otherwise comports with fair play and substantial

 justice.” Marten, 499 F.3d at 296 (internal citations omitted).

 B.     General Jurisdiction Does Not Exist Over Cortica, LTD
        For this Court to have general jurisdiction over Cortica, LTD, as set forth

 above, M&B would need to show evidence of continuous and systematic contacts

 between Cortica, LTD and this forum. M&B cannot even come close to making

 this showing as M&B’s complaint acknowledges Cortica, LTD is based in Israel

 and does not have any allegations that Cortica, LTD has any continuous or

 systematic business in this forum.3

        In Daimler, the U.S. Supreme Court held that the proper forum for the

 exercise of general jurisdiction over a corporation is ‘“one in which the corporation

 is fairly regarded at home’—typically, ‘the place of incorporation and principal

 place of business.’” Daimler, 571 U.S. at 126 (quoting Goodyear Dunlop Tires

 Operations, S.A. v. Brown, 564 U.S. 915, 924 (2011)). A corporation is not at

 home in every state where it “engages in a substantial, continuous, and systematic

 course of business,” Id. “Otherwise, ‘at home’ would be synonymous with ‘doing

 business’ tests framed before specific jurisdiction evolved in the United States.” Id.


        3
          While Cortica, LTD holds U.S. patents, the courts are clear that a foreign company is
 subject to personal jurisdiction by virtue of its patent ownership only in disputes over patent
 ownership and not as a matter of general personal jurisdiction. See National Patent Development
 Corp. v. T.J. Smith & Nephew, Ltd., 877 F.2d at 1010 (D.D.C. Cir. 1989).



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 “A corporation that operates in many places can scarcely be deemed at home in all

 of them.” Id. It is an “exceptional case” in which “a corporation’s operations in a

 forum other that its formal place of incorporation or principal place of business

 may be so substantial and of such a nature as to render the corporation at home in

 the State.” Id.

        Daimler significantly limited the scope of general jurisdiction states may

 exercise over non-resident defendants.        Id.   Daimler broke from the “doing

 business” test that had prevailed in common law for the previous fifty years, by

 creating a new “at home” test, which significantly heightened the standard to assert

 general jurisdiction over a non-resident defendant, a test that can only be met in

 “exceptional cases.”

        As in Daimler, those exceptional circumstances do not exist in M&B’s

 claims against Cortica, LTD.        In Daimler, the Supreme Court ruled that

 DaimlerChrysler AG of Germany could not be sued in California federal court

 based on the continuous business activities and jurisdictional contacts of its United

 States subsidiary Mercedes-Benz USA, LLC, where the claims arose out of alleged

 human rights violations committed by DaimlerChrysler AG’s subsidiary in

 Argentina decades earlier. The Supreme Court held California could not assert

 jurisdiction over DaimlerChrysler AG, despite the contacts with California of its

 California subsidiary, Mercedes-Benz USA, LLC. Mercedes-Benz USA, LLC’s


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 contacts included: a regional headquarters, multiple California-based facilities, and

 extensive sales, which constituted 10% of the company's nationwide sales, all of

 which were attributed to DaimlerChrysler AG. Although Daimler’s contacts with

 California were extensive, the Supreme Court found them nonetheless to be

 modest relative to the parent company's nationwide and worldwide operations.

 The Supreme Court concluded that these contacts did not rise to the level necessary

 to shift DaimlerChrysler AG’s principal place of business from Germany to

 California. As a result, the Supreme Court held California did not have general

 jurisdiction over DaimlerChrysler AG.

       It is instructive that the Court in New Earthshell Corp. v. Lycos Internet

 Ltd., No. 14-CV-7665, 2015 WL 4716155, at *1 (D.N.J. Aug. 7, 2015)4, relied on

 Daimler and found that it could not exercise personal jurisdiction over an Israel-

 based defendant, like Cortica, LTD, where that Defendant did not have sufficient

 contacts with New Jersey to confer jurisdiction.

       Likewise, the rationale of the Court in Daimler precludes the assertion of

 general jurisdiction over Cortica, LTD in New Jersey. Cortica, LTD does not have

 “continuous and systematic” contacts with New Jersey sufficient to render it “at

 home” in New Jersey, and in fact it has no contacts in New Jersey at all (See

 Odinaev Cert. at ¶¶ 2-7). Cortica, LTD does not have a “substantial” or “local


       4
           A copy of this opinion is submitted herewith.
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 presence” in New Jersey, does not maintain a corporate office, or any office, in

 New Jersey, and does not solicit, create, nurture or maintain any continuing

 business relationship with anyone in New Jersey. M&B’s complaint, in fact,

 confirms that this is the case in that it admits Cortica, LTD is based in Israel, and

 even its domestic subsidiary Cortica-US, Inc. is based in New York and

 incorporated in Delaware, not New Jersey. In short, Cortica, LTD is “at home” in

 Israel, not in New Jersey. The holding in Daimler requires that this Court refuse to

 exercise general jurisdiction over Cortica, LTD.

 C.    Specific Jurisdiction Does Not Exist Over Cortica, LTD
       Just as with general jurisdiction, M&B has offered the Court no basis

 whatsoever to conclude that there is specific jurisdiction over Cortica, LTD.

 Simply, Cortica, LTD’s Israeli patent firm eNitiatives engaged M&B without

 Cortica, LTD’s consent and, as such, Cortica, LTD cannot be said to have

 “purposely directed [its] activities at the forum,” nor is there any basis to suggest

 plaintiff's claim “arise out of or relate to at least one of those specific activities”

 and that jurisdiction “otherwise comports with fair play and substantial justice.”

 Marten, 499 F.3d at 296 (internal citations omitted).

       In J. McIntyre Mach., Ltd. v. Nicastro, 564 U.S. 873 (2011), the U.S.

 Supreme Court determined that no specific jurisdiction existed in New Jersey over

 a company based in England that manufactured machines, four of which ended up


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 in New Jersey. There, the company’s employees attended trade shows in the

 United States, but not in New Jersey, the company had no office in New Jersey and

 “neither paid taxes nor owned property there,” and the company “neither

 advertised in, nor sent any employees to, the State.” Id. at 886. Because the

 company “[did] not have a single contact with New Jersey short of the machine in

 question ending up in this state,” the company did not purposefully avail itself of

 the privileges of conducting business in New Jersey so as to establish specific

 jurisdiction.

       Here, M&B’s complaint asserts venue (not jurisdiction) over the matter

 because M&B allegedly has an office in New Jersey, but there is no connection

 between Cortica, LTD and New Jersey whatsoever. Indeed, as set forth in the

 accompanying certification of Mrs. Odinaev, Cortica, LTD did not engage M&B

 and had reason to know where M&B operated its business. (Odinaev Cert. at ¶ 8).

 M&B worked for eNitiatives, and Cortica, LTD did not direct its activities at M&B

 or at the forum.       Under these circumstances, subjecting Cortica, LTD to

 jurisdiction does not comport with notions of fair play or substantial justice.

       Indeed, when considering jurisdictional reasonableness, a court considers

 several factors, including: (1) the burden on the defendant; (2) the plaintiff’s

 interest in convenient and effective relief; (3) the forum’s interest in adjudicating

 the dispute; (4) the interstate or international judicial system’s interest in obtaining


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 an efficient resolution; and (5) the procedural and substantive interests of other

 countries. O’Connor v. Sandy Lane Hotel Co., 496 F.3d 312, 324 (3d Cir. 2007).

 When analyzing specific personal jurisdiction in the context of contractual claims,

 the Court “must consider the totality of the circumstances, including the location

 and character of the contract negotiations, the terms of the contract, and the parties’

 actual course of dealing.” Remick v. Manfredy, 238 F.3d 248, 256 (3d Cir. 2001).

        Specifically, “[i]n contract cases, courts should inquire whether the

 defendant’s contacts with the forum were instrumental in either the formation of

 the contract or its breach.” Id. at 320 (quoting General Electric Co. v. Deutz AG,

 270 F.3d 144, 150 (3d Cir. 2001)). Physical presence in the forum can constitute

 purposeful availment and as such “[a]ctual presence during pre-contractual

 negotiations, performance, and resolution of post-contract difficulties is generally

 factored into the jurisdictional determination.” General Electric, 270 F.3d at 150;

 see also Telcordia Tech, Inc. v. Telkoon SA Ltd., 458 F.3d 172, 177 (3d Cir.

 2006). Physical presence, however, is not determinative. Telcordia, 458 F.3d at

 177. Moreover, “the intention to establish a common venture extending over a

 substantial period of time is a more important consideration.” General Electric,

 270 F.3d at 151. Accordingly, personal jurisdiction does not arise merely where

 there is a contract and “informational communications.” See Remick, 238 F.3d at

 256.


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       Importantly, the bare fact that a party contracted with a vendor in a forum is

 not enough to establish personal jurisdiction.        Bristol-Myers Squibb Co. v.

 Superior Court of California, San Fran. County, 137 S. Ct. 1773 (2017). In this

 case, Cortica, LTD did not contract with M&B so personal jurisdiction is even

 more tenuous.

       Indeed, the five-factor test does not favor exercise of personal jurisdiction

 because:

       (1) the burden on Cortica, LTD to litigate with eNitiatives in Israel and with

 M&B over a subset of the eNitiatives litigation in the U.S. is great and

 unwarranted as it will result in duplication of effort and inability to present a

 complete case in this form;

       (2) the plaintiff’s interest in convenient and effective relief is undermined

 because M&B will be a party and fact witness in the Israel litigation, effectively re-

 litigating many of the same interests;

       (3) the forum’s interest in adjudicating the dispute is not persuasive as the

 business relationship did not touch this forum;

       (4) the interstate or international judicial system’s interest in obtaining an

 efficient resolution is served by dismissal because all claims can be fully heard in

 Israel, as – (a) the majority of parties in this dispute (Cortica, LTD and eNitiatives)

 are from Israel, and they both are litigating in front of Israeli court; (b) the


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 agreement between eNitiatives and Cortica, LTD (in fact the only agreement in this

 dispute) was signed, performed and breached by eNitiatives in Israel and Israeli

 law applies thereon with exclusive jurisdiction of the courts of Tel Aviv; (c)

 eNitiatives has filed a lawsuit against Cortica, LTD in Israel relying on Israeli law,

 and Cortica, LTD filed a counter lawsuit in Israel relying on Israeli law in which it

 included M&B as a secondary defendant; (d) most of the technology for which

 patents were eventually filed and registered in the U.S. was developed in Israel; (e)

 a substantial part of the negligent work performed by eNitiatives (drafting patent

 applications and commenting thereon, and interviewing inventors) was performed

 in Israel, and even the negligent budget management which included M&B's

 professional fees, was performed by eNitiatives in Israel; (f) most of strategic

 decisions at issue in this case that were made connection with Cortica, LTD’s

 patent portfolio were made (without consulting Cortica, LTD) in Israel; and (g)

 correspondence in connection with work was made in Israel; and

       (5) the procedural and substantive interests of Israel also favor dismissal as

 this case involves, primarily, Israel-based businesses.

       Under this standard, the undisputed facts show that there is no basis to

 confer specific personal jurisdiction over Cortica.




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II.   PLAINTIFF’S COMPLAINT SHOULD BE DISMISSED IN
      ACCORDANCE WITH THE DOCTRINE OF FORUM NON
      CONVENIENS


         A.      Standard of Review
         In addition to dismissal due to the absence of personal jurisdiction, the

  claims against Cortica, LTD and Cortica-U.S., Inc.5 should also be dismissed for

  forum non conveniens. The forum non conveniens doctrine empowers federal

  courts to dismiss an action when “a foreign tribunal is plainly the more suitable

  arbiter of the merits of the case.” Sinochem Int’l Co. v. Malaysia Int’l Shipping

  Corp., 549 U.S. 422, 425 (2007). When deciding a motion to dismiss that is based

  on forum non conveniens and other grounds, courts have “discretion to respond at

  once to a defendant’s [forum non conveniens] plea, and need not take up first any

  other threshold objection.” Id.          Thus, where “considerations of convenience,

  fairness, and judicial economy so warrant,” courts may exercise their discretion to

  dismiss on forum non conveniens grounds without deciding any jurisdictional

  questions. Id. Nonetheless, forum non conveniens considerations “weigh heavily

  in favor of dismissal” when personal jurisdiction is “difficult to determine.” See

  Sinochem, 549 U.S. at 436.


         5
           The arguments as to Cortica, LTD apply equally as to the claims against Cortica-US,
  Inc., which does not own any of the patents at issue, and, therefore Cortica-US, Inc. joins in this
  portion of the Motion.
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       Forum non conveniens is a discretionary tool that empowers a district court

 “to dismiss an action on the ground that a court abroad is the more appropriate and

 convenient forum for adjudicating the controversy.” Id. at 425. “The doctrine

 arises from a concern that plaintiffs sometimes attempt to force a trial at a ‘most

 inconvenient place for an adversary, even at some inconvenience to [the plaintiff],’

 in order to inflict upon an adversary ‘expense or trouble not necessary to [the

 plaintiff’s] own right to pursue his remedy.’” Path to Riches, LLC v. Cardiolync,

 Inc., 290 F.Supp.3d 280, 285 (D. Del. 2018) (quoting Lony v. E.I. Du Pont de

 Nemours & Co., 935 F.2d 604, 615 (3d Cir. 1991) (citing Gulf Oil Corp. v. Gilbert,

 330 U.S. 501, 507, (1947)).

       To decide whether forum non conveniens is appropriate, district courts

 engage in a three-step analysis. Path to Riches, LLC, 290 F.Supp.3d at 285. First,

 the court must determine “whether an adequate alternate forum” exists to entertain

 the case. Eurofins Pharma US Holdings v. BioAlliance Pharma SA, 623 F.3d 147,

 160 (3d Cir. 2010). If there is such a forum, the court must next determine “the

 appropriate amount of deference to be given the plaintiff’s choice of forum.” Id.

 Finally, the court must weigh “the relevant public and private interest factors” to

 determine whether, on balance, “trial in the chosen forum would result in

 oppression or vexation to the defendant out of all proportion to the plaintiff’s

 convenience.” Id. If so, or if the chosen forum is “inappropriate” in light of the


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 court’s own “administrative and legal problems,” the court “may, in its discretion,”

 dismiss the case. Windt v. Qwest Commc’ns Int’l, Inc., 529 F.3d 183, 189 (3d Cir.

 2008) (citing Koster v. (Am.) Lumbermens Mut. Cas. Co., 330 U.S. 518, 524

 (1947)).

       A defendant seeking dismissal on the basis of forum non conveniens bears

 the burden of persuasion. Path to Riches, LLC, 290 F.Supp.3d at 285. While,

 ordinarily, there is generally a “strong presumption” in favor of a plaintiff’s choice

 of forum,” that presumption, however, “applies with less force when the plaintiff

 or real parties in interest are foreign.” Id. (quoting Piper Aircraft Co. v. Reyno,

 454 U.S. 235, 255 (1981)).

       In performing this forum non conveniens analysis, the court “generally

 becomes entangled in the merits” to the extent required to “scrutinize the substance

 of the dispute.”    Van Cauwenberghe v. Biard, 486 U.S. 517, 528 (1988).

 Nevertheless, this “does not call for a detailed development of the entire case” or

 “require extensive investigation”—instead, the court may rely on the parties’

 affidavits. Lony, 935 F.2d at 614. In fact, motions to dismiss based on forum non

 conveniens should be decided “at an early stage in the litigation, so that the parties

 will not waste resources on discovery and trial preparation in a forum that will later

 decline to exercise its jurisdiction over the case.” See Lony, 935 F.2d at 614.




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       B.     Plaintiff’s Claims Should be Dismissed for Forum Non
              Conveniens
       Plaintiff frames this as a collection action in this forum due to diversity, but

 it is not. To view this as a collection action is a gross oversimplification. Rather,

 this is a facet of a multi-million dollar dispute between Cortica and eNitiatives,

 and, in that litigation, the work that M&B performed at the behest of eNitiatives

 and the billing for which M&B seeks to collect in this action are central.

       Cortica, LTD and eNitiatives are litigating in Israel, consistent with their

 agreements that designate that forum, and M&B’s claims should be joined in that

 forum for the convenience of all parties and judicial economy, as Cortica, LTD has

 sought by filing the counter lawsuit in Israel and including M&B therein. But for a

 proper dismissal, there is a significant risk of inconsistent verdicts, e.g., a decision

 in one forum that funds are owed by Cortica and a decision in another that Cortica

 was a victim of fraudulent and negligent conduct.

       In cases such as this one, our Courts have consistently held that forum non

 conveniens warrants dismissal. First, our Courts have held that Israel is, in fact, an

 adequate alternate forum where the parties in interest are doing business in that

 forum, such as is the case with Cortica, LTD, eNitiatives, and M&B to the extent it

 serves eNitiatives. Path to Riches, LLC, 290 F. Supp. 3d 280, 286 (dismissing

 case based on forum non conveniens where Israel was the appropriate forum). See

 also Kisano Trade & Invest Ltd. v. Lemster, 737 F.3d 869, 873 n.1 (3d Cir. 2013)

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 (Israel was an adequate alternative forum, despite plaintiff's contention that

 defendants would not be amenable to suit there, where defendants consented to

 Israeli jurisdiction).

        Additionally, our Courts have determined that the appropriate amount of

 deference to be given to plaintiff’s choice of forum is tempered when, as here, the

 facts giving rise to the dispute occurred in another forum and where there is

 already ongoing litigation over intertwined issues in that forum.          Here, the

 decisions as to whether eNitiatives met its duties to Cortica are inextricably linked

 to the work M&B did for eNitiatives and at eNitiatives’s direction, and in fact, it is

 not possible to hear this dispute without involving Cortica, eNitiatives, and M&B

 in one forum.

        Finally, the “the relevant public and private interest factors”, on balance,

 show trial in this chosen forum will result in oppression or vexation to Cortica out

 of all proportion to the plaintiff’s convenience. As mentioned above, all relevant

 witnesses, including eNitiatives witnesses, and all relevant documents are in Israel.

 Where evidence relating to causation, injury, and damages is located exclusively

 within a foreign jurisdiction, the defendant has a much greater interest in obtaining

 a forum non conveniens dismissal. Miller v. Bos. Sci. Corp., 380 F. Supp. 2d 443,

 452 (D.N.J. 2005) (granting dismissal for forum non conveniens based on finding

 that Israel is the proper forum). This is especially important here where the


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   Court’s more limited subpoena power over eNitiatives serves to limit the access to

   important information Cortica needs to supports its defenses. Id. Indeed, our

   Courts have readily held that impracticality of impleading third parties is another

   factor favoring dismissal, id., whereas, eNitiatives and Cortica can and will add

   M&B as a party to their Israel litigation.

          For these reasons, the Court should also dismiss Plaintiff’s complaint on the

   basis of forum non conveniens.

III.   PLAINTIFF’S COMPLAINT SHOULD BE DISMISSED FOR FAILURE
       TO JOIN AN INDISPENSABLE PARTY UNDER FED. R. CIV. P.
       12(b)(7)6


          “A person who is subject to service of process and whose joinder will not

   deprive the court of subject-matter jurisdiction must be joined as a party if:

          (A) in that person's absence, the court cannot accord complete relief among

   existing parties; or

          (B) that person claims an interest relating to the subject of the action and is

   so situated that disposing of the action in the person's absence may:

                  (i) as a practical matter impair or impede the person's ability to protect

                  the interest; or



          6
            If Cortica, LTD is dismissed from this litigation because eNitiatives is an indispensable
   party that cannot feasibly be joined, Cortica-US, Inc. respectfully requests dismissal as well for
   the same reasons, and because Cortica, LTD would then be an indispensable party that could not
   feasibly be joined. As such, Cortica-US, Inc. joins in this section of Cortica, LTD’s Motion.
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                (ii) leave an existing party subject to a substantial risk of incurring

                double, multiple, or otherwise inconsistent obligations because of the

                interest.”

 Fed. R. Civ. P. 12(a)(1)(A). “[O]ne of Rule 19’s purposes is to avoid piecemeal

 litigation … caused by the failure to join an interested party.” HB Gen. Corp. v.

 Manchester Partners, 95 F.3d 1185, 1198 n. 9 (3d Cir. 1996). “[A] contracting

 party is the paradigm of an indispensable party in a contractual claim action.”

 Rosenzweig v. Brunswick Corp., 2008 WL 3895485, at *6 (D.N.J. Aug. 20, 2008)

 (quotations omitted) (collecting cases).7 As set forth in more detail above, given

 that eNitiatives, and not Cortica, actually engaged M&B, and, therefore, is a

 contracting party herein, eNitiatives is certainly a required party to this litigation.

       Further, because Cortica, LTD has already been sued by eNitiatives in Israel

 concerning the same subject matter and asserted counterclaims against both

 eNitiatives and M&B, Cortica, LTD could ultimately be subject to double, multiple

 and/or inconsistent obligations to M&B and eNitiatives. See Fiscus v. Combus

 Finance AG, 2007 WL 4164388, at *5 (D.N.J. Nov. 20, 2007)8 (“When a court is

 called upon to interpret the terms of a contract and to evaluate whether the parties

 to the contract have breached those terms or upheld their respective


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           A copy of this opinion is submitted herewith.
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           A copy of this opinion is submitted herewith.
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 responsibilities, the absence of one or more of the parties exposes the absent party

 to precisely the kind of risks that Rule 19(a)(2)(i) empowers courts to guard

 against.”).

       If a required party can be joined, the court must order that that person be

 made a party. Fed. R. Civ. P. 12(a)(2). If that person cannot be joined, “the court

 must determine whether, in equity and good conscience, the action should proceed

 among the existing parties or should be dismissed.” Fed R. Civ. P. 12(b). The

 factors for the court to consider in making this determination include:

       (1) the extent to which a judgment rendered in the person's absence

               might prejudice that person or the existing parties;

       (2) the extent to which any prejudice could be lessened or avoided by:

                 (A) protective provisions in the judgment;

                 (B) shaping the relief; or

                 (C) other measures;

       (3) whether a judgment rendered in the person's absence would be

               adequate; and

       (4) whether the plaintiff would have an adequate remedy if the action

               were dismissed for nonjoinder.

 Id.   eNitiatives cannot feasibly be joined.        As explained above, the contract

 between Cortica, LTD and eNitiatives from which any claims Cortica, LTD has


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 against eNitiatives stem is subject to forum selection and governing law clauses

 listing the Israeli courts and Israeli law, respectively.      For this reason, it is

 infeasible to join eNitiatives to this matter. See Rosenzweig, 2008 WL 3895485,

 at *8 (finding it infeasible to join a party because a forum selection clause).

       Additionally, this Court may not even have personal jurisdiction over

 eNitiatives. Cortica is not aware of eNitiatives having any contacts with New

 Jersey. Cortica further does not know the details of eNitiatives’s relationship with

 M&B, including where they negotiated and agreed to the contract between them,

 whether anyone from eNitiatives ever travelled to New Jersey in relation to said

 contract, and whether the contract between eNitiatives and M&B includes any

 forum selection and/or governing law clauses. However, it is telling that M&B,

 which has all of this information, did not include eNitiatives.         This certainly

 suggests this Court would not have personal jurisdiction over eNitiatives;

 otherwise, M&B presumably would have sued them too.

       The Rule 19(b) factors weigh heavily in favor of dismissing this action,

 especially since the Israeli courts can provide full and final relief in this matter.

 Addressing each in turn:

       (1) eNitiatives’s absence from this litigation will severely prejudice Cortica.

 If Cortica is found liable to M&B, it has a right to indemnification, set off, and/or

 contribution from eNitiatives.      As M&B’s direct contractor, eNitiatives has


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 information critical to Cortica’s defenses. As explained above, Cortica will be

 entitled to limited subpoena power to obtain this information, which could prevent

 Cortica from obtaining information necessary to its defense. See Miller, 380 F.

 Supp. 2d at 452. This would undoubtedly prejudice Cortica. Additionally, this

 action could prejudice eNitiatives, especially if this court or another United States

 court has personal jurisdiction over eNitiatives.       See Rosenzweig, 2008 WL

 3895485, at *9 (concluding that “practical prejudice” exists whenever a judicial

 determination creates precedent that could impact an absent party).

       (2) This prejudice cannot be avoided. There is simply no way this Court

 could fashion a remedy whereby Cortica is required to pay M&B, but can obtain

 indemnification and/or contribution from eNitiatives, unless eNitiatives was a

 party hereto. Likewise, this Court cannot compel eNitiatives to produce discovery

 beyond that permitted by its subpoena power.

       (3) As already explained, no judgment rendered in this matter can be

 adequate without eNitiatives. In considering this factor, the Supreme Court has

 emphasized “complete, consistent, and efficient settlement of controversies” and

 “settling disputes by wholes, whenever possible.” See Rosenzweig, 2008 WL

 3895485, at *10 (quoting Provident Tradesment Bank & Trust Co. v. Patterson,

 390 U.S. 102, 111 (1968)). If Cortica is found liable to M&B for any amount of

 money, eNitiatives should be liable for, at least, a portion of that amount, if not the


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 entire amount. However, without eNitiatives a party to this matter, the Court can

 only provide relief against Cortica, which would be inadequate. In any event, the

 Court certainly cannot fashion a remedy that would resolve this dispute wholly

 (including the claims in the Israeli litigation) without eNitiatives.

       (4) M&B would undoubtedly have an adequate remedy if this action were

 dismissed for nonjoinder: litigate in Israel.

       For these reasons, Defendants respectfully request that this case be

 dismissed with prejudice for failure to join a required party.

                                    CONCLUSION
       Based upon the foregoing, Defendants Cortica, LTD and Cortica –US, Inc.

 respectfully submit that this Court should grant their motion and dismiss Plaintiff’s

 complaint against it for lack of personal jurisdiction, forum non conveniens, and/or

 failure to join an indispensable party.

                                 FLASTER/GREENBERG P.C.
                                 Attorneys for Defendants Cortica-US, Inc.
                                 and Cortica, LTD


 Dated: June 3, 2019             By: /s/ Adam E. Gersh
                                 Adam E. Gersh, Esquire




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